      Case 2:05-cr-00205-FVS    ECF No. 228   filed 12/07/06   PageID.566 Page 1 of 1




 1                             UNITED STATES DISTRICT COURT
 2                         EASTERN DISTRICT OF WASHINGTON
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 5
     UNITED STATES OF AMERICA,
                                                        No. CR-05-205-FVS-4
 6
                       Plaintiff,

 7
                                                        ORDER OF DISMISSAL
                  v.
 8

 9
     WILLIAM JOSEPH COLVIN,

10
                       Defendant.

11

12        IT IS HEREBY ORDERED:

13        The government’s oral motion to dismiss all charges is GRANTED.

14        IT IS SO ORDERED.       The District Court Executive is hereby

15   directed to enter this order and furnish copies to counsel and CLOSE

16   this file.

17        DATED this     7th       day of December, 2006.

18
                                   s/ Fred Van Sickle
19                                    Fred Van Sickle
                               United States District Judge
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     ORDER OF DISMISSAL- 1
